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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JEREMY PINSON,                                  :
                                                :
       Plaintiff,                               :           Civil Action No.: 18-0486 (RC)
                                                :
       v.                                       :           Re Document No: 84
                                                :
U.S. DEPARTMENT OF JUSTICE, et al.,             :
                                                :
       Defendants.                              :

                                 MEMORANDUM OPINION

                DENYING PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

                                   I.     INTRODUCTION

       Pro se Plaintiff Jeremy Pinson (“Pinson”), is currently an inmate at U.S. Penitentiary

(“USP”) Tucson, a federal prison located in Arizona. Pinson began this suit in 2016 by filing a

Freedom of Information Act (“FOIA”) complaint against several subagencies of the U.S.

Department of Justice (“DOJ”), including the Federal Bureau of Prisons (“BOP”).1 In this

action, Pinson claims that Defendants have failed to respond to FOIA requests. See Pl.’s First

Am. Compl., ECF No. 16. Presently before the Court, Pinson has filed a renewed motion for a

preliminary injunction. Pinson has previously filed numerous motions for preliminary

injunctions. The Court has already denied six prior motions for preliminary injunction that raise

similar issues. See Pinson v. U.S. Dep’t of Justice, No. 18-486, 2018 WL 5464706, at *1

(D.D.C. Oct. 29, 2018); Pinson v. U.S. Dep’t of Justice, No. 18-486, slip op. at 51 (D.D.C. Mar.




       1
          The agencies Plaintiff submitted FOIA requests to were: Executive Office for U.S.
Attorneys, Office of Information Policy, Federal Bureau of Investigation, Federal Bureau of
Prisons, United States Marshals Service, Office of the Inspector General, and the Central
Intelligence Agency. See Pl.’s Compl., ECF No. 1, at 2; Pl.’s First Am. Compl., ECF No. 16, at
12.
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30, 2020). The Court denies the motion for preliminary injunction because Pinson has not

shown that she2 will be irreparably harmed in the absence of a preliminary injunction or is likely

to succeed on the merits.

                            II.     FACTUAL BACKGROUND

       The Court has already explained the factual background in this case in detail in its prior

Memorandum Opinions. See Pinson, 2018 WL 5464706, at *1–2; Pinson v. U.S. Dep’t of

Justice, 396 F. Supp. 3d 66, 72–76 (D.D.C. 2019); Pinson, No. 18-486, slip op. at 2–29 (D.D.C.

Mar. 30, 2020). The Court assumes familiarity with its prior opinions and confines discussion to

the facts most relevant to the present motion.

       On June 15, 2020, Pinson filed a renewed motion for preliminary injunction requesting

that the Court 1) issue an order for the Federal Bureau of Prisons (“BOP”) to release Pinson from

USP’s Special Housing Unit (“SHU”); 2) enjoin the BOP from transferring Pinson to another

federal prison facility; and 3) compel the BOP to refer various allegations to the Office of the

Inspector General (“OIG”). Pl.’s Mot. for Prelim. Inj. (“Mot.”) 2, ECF No. 84. Pinson alleges

that Defendant BOP has retaliated against her for filing FOIA complaints by 1) failing to remove

her from segregated confinement, and 2) initiating a transfer to another facility. Mot. 1. In a

declaration attached to the motion, Pinson represented that the BOP had submitted materially

false statements and assertions in the “Request to Transfer” document. Jeremy Pinson Decl. ¶ 2.

In particular, Pinson alleges that the BOP falsely claimed that Pinson threatened staff with bodily

harm, that Pinson was involved in aggressive behavior, that “white non-sex offenders” posed a




       2
         Pinson identifies using feminine pronouns, and the government and this Court follow
suit. See Pinson v. U.S. Dep’t of Justice, 246 F. Supp. 3d 211, 214 n.1 (D.D.C. 2017).

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threat to Pinson, and that Pinson filed a “PREA Allegation”3 against an inmate. Id. ¶ 3–6.

Pinson also alleges that multiple inmates have received bribes from BOP staff in the form of

stamps, a prison inmate currency, to make false statements in an effort to help the BOP transfer

Pinson. Id. ¶ 5.

        Defendants oppose the renewed motion for preliminary injunction. See Defs.’ Opp. to

Pl.’s Mot. for Prelim. Inj. (“Defs.’ Opp.”), ECF No. 87. Defendants argue that Pinson “cannot

demonstrate a likelihood of success on any claim that BOP placed Plaintiff in the SHU for

retaliatory reasons,” that “Plaintiff does not identify any reason why the Court cannot continue to

adjudicate Plaintiff’s claims after Plaintiff is transferred to a different BOP facility,” and that the

request to compel the BOP to refer various allegations to the OIG is “unrelated to the claims in

Plaintiff’s Complaint.” Defs.’ Opp. 2–3.

                                        III.    LEGAL STANDARD

        “[A] preliminary injunction is an injunction to protect [the] plaintiff from irreparable

injury and to preserve the court’s power to render a meaningful decision after a trial on the

merits.” Select Milk Producers, Inc. v. Johanns, 400 F.3d 939, 954 (D.C. Cir. 2005) (Henderson,

J., dissenting) (quoting 11A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal

Practice and Procedure § 2947 (2d ed. 1992)). “[T]he decision to grant injunctive relief is a

discretionary exercise of the district court’s equitable powers.” John Doe Co. v. Consumer Fin.

Prot. Bureau, 235 F. Supp. 3d 194, 201 (D.D.C. 2017) (alteration in original) (quoting Sea

Containers Ltd. v. Stena AB, 890 F.2d 1205, 1209 (D.C. Cir. 1989)). A preliminary injunction is




        3
         A “PREA allegation” refers to a complaint filed through the Prisoner Rape Elimination
Act of 2003 (“PREA”) Grievance Process. PREA was passed by Congress to address the
problem of sexual abuse of prisoners. The PREA grievance process is a two-step process for
addressing sexual abuse grievances.

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an “extraordinary remedy,” and one is “never awarded as of right.” Winter v. Nat’l Res. Def.

Council, Inc., 555 U.S. 7, 24 (2008).

        To warrant preliminary injunctive relief, the moving party “must establish that [it] is

likely to succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of the equities tips in [its] favor, and that an injunction is in

the public interest.” Id. at 20; see also Howard v. Evans, 193 F. Supp. 2d 221, 226–27 (D.D.C.

2002). Of these factors, likelihood of success on the merits and irreparable harm are particularly

crucial. See Sherley v. Sebelius, 644 F.3d 388, 393 (D.C. Cir. 2011) (reading Winter “to suggest

if not to hold ‘that a likelihood of success is an independent, free-standing requirement for a

preliminary injunction’” (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1296

(D.C. Cir. 2009) (Kavanaugh, J., concurring))); see also Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (“[A] movant must demonstrate at least some

injury for a preliminary injunction to issue, for the basis of injunctive relief in the federal courts

has always been irreparable harm.” (citations and internal quotation marks omitted)). Without a

“substantial indication” of likely success on the merits, “there would be no justification for the

court’s intrusion into the ordinary processes of administration and judicial review.” Am. Bankers

Ass’n v. Nat’l Credit Union Admin., 38 F. Supp. 2d 114, 140 (D.D.C. 1999) (quoting Wash.

Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977)).

                                        IV.     ANALYSIS

        In reviewing Pinson’s preliminary injunction motion, the Court evaluates whether Pinson

has demonstrated that she is likely to succeed on the merits and that she will suffer an irreparable

harm absent issuance of a preliminary injunction. Pinson fails to demonstrate that she is likely to

succeed on the merits or that she will suffer irreparable harm absent a preliminary injunction.




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Because these requirements are mandatory, the Court need not consider the remaining factors.

See Howard, 193 F. Supp. 2d at 228 (“[T]he court need not determine the viability of the

plaintiff’s arguments respecting the remaining . . . prongs of the preliminary injunction standard

in light of the rule that a preliminary injunction may only issue when the movant demonstrates a

showing that supports all four of the preliminary injunction factors.”). The Court therefore

denies the request for preliminary injunction.

       1. Failing to Remove Pinson from the SHU

       Pinson first requests that this Court enjoin Defendants from keeping her housed in the

“segregated confinement” of the SHU. Pinson argues that the BOP is retaliating against her for

filing the present lawsuit by keeping her in the SHU. See Mot. 1. Specifically, Pinson contends

that she will suffer irreparable harm from the BOP’s continued violation of her First Amendment

rights and BOP employees’ “unlawful behavior” if she remains in the SHU. Mot. 1–2. Pinson

also states without further elaboration that she “is likely to succeed on the merits of her

retaliation claims.” Mot. 1. Defendants argue that removing Pinson from the SHU would not

satisfy the “limited purpose” of a preliminary injunction—to “preserve[] the trial court’s power

to adjudicate the underlying dispute by maintaining the status quo ante.” See Defs.’ Opp. 2

(quoting Select Milk Producers, 400 F.3d at 954 (Henderson, J., dissenting)). Moreover,

Defendants argue that since Pinson was placed into the SHU after being assaulted several times

by other prisoners, Pinson cannot demonstrate a likelihood of success with respect to the claim

that the BOP placed Pinson in the SHU for retaliatory reasons. Defs.’ Opp. 2.

       It is particularly important for a movant to show a substantial likelihood of success on the

merits of their claim at the preliminary injunction stage. Howard, 193 F. Supp. 2d at 226. To

succeed on the merits of a constitutional claim, Pinson must show more than “bare allegations of




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malice.” Crawford-El v. Britton, 523 U.S. 574, 588 (1998). Pinson bears the burden of

establishing “by a clear showing” that she enjoyed a constitutionally protected interest and was

denied a constitutional right. Tanner v. Fed. Bureau of Prisons, 433 F. Supp. 2d 117, 122

(D.D.C. 2006) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)). But Pinson’s claims

of retaliation and reference to “1st Amendment rights,” Mot. 1, are no more than “bare

allegations of malice,” Crawford-El, 523 U.S. at 588. She does not make the clear showing

required to demonstrate probability of success on the merits.

        In order to establish that she will suffer irreparable harm absent an injunction, Pinson

must point to an injury that is “both certain and great, . . . actual and not theoretical[,]” and so

imminent “that there is a clear and present need for equitable relief.” John Doe Co., 235 F.

Supp. 3d at 202–03 (internal quotation marks omitted) (quoting Chaplaincy of Full Gospel

Churches, 454 F.3d at 297). The moving party must also show that the imminent injury is

“beyond remediation” with other forms of relief. Id. at 203 (quoting Chaplaincy of Full Gospel

Churches, 454 F.3d at 297). Pinson has not shown why failing to remove her from the SHU will

cause her any imminent injury. In fact, BOP employees likely put Pinson in the SHU to avoid

her suffering any further physical assaults by other inmates, as Defendants contend. See Defs.’

Opp. 2; Segal Decl. ¶ 3. Pinson does not point to any actual injury likely to cause the irreparable

harm needed to obtain a preliminary injunction against the BOP keeping Pinson in the SHU. See

Winter, 555 U.S. at 24. Because she has not shown an irreparable harm that would result from

keeping her in the SHU and because she is not likely to succeed on the merits, Pinson’s motion

to enjoin Defendants from keeping her in the SHU is denied.




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        2. Initiating a Transfer to Another Facility

        Pinson next requests that this Court enjoin Defendants from initiating a “retaliatory

transfer” to another BOP facility. Mot. 1. In the declaration attached to her motion for a

preliminary injunction, Pinson argues that the BOP submitted materially false statements and

assertions in the “Request to Transfer” document. Jeremy Pinson Decl. ¶ 2. Pinson alleges that

the BOP falsely claimed that she threatened staff with bodily harm, that she was involved in

aggressive behavior, that “white non-sex offenders” posed a threat to her, and that she filed a

“PREA Allegation” against an inmate. Id. ¶ 3–6. Moreover, Pinson claims that multiple inmates

received bribes from BOP staff in the form of stamps, a prison inmate currency, to make false

statements in an effort to help the BOP transfer Pinson. Id. ¶ 5.

        Defendants again argue that Pinson’s request for an injunction will not “maintain[] the

status quo ante” with respect to the present action. Defs.’ Opp. 2 (quoting Select Milk

Producers, 400 F.3d at 954 (Henderson, J., dissenting)). They contend that Pinson provides no

reason why the Court would have trouble adjudicating Pinson’s claims after she is transferred to

a different BOP facility. Defs.’ Opp. 2. In fact, Defendants argue that the BOP is seeking to

transfer Pinson to a facility with programs more appropriate for her. Defs.’ Opp. 2; see Segal

Decl. ¶ 4.

        Courts give an “unusually high level of deference” with respect to penological decisions

to transfer inmates. Pinson v. U.S. Dep’t of Justice, 273 F. Supp. 3d 1, 12 (D.D.C. 2017); see

also Lewis v. Casey, 518 U.S. 343, 361 (1996) (“[A] prison regulation impinging on inmates’

constitutional rights ‘is valid if it is reasonably related to legitimate penological interests.’”

(quoting Turner v. Safley, 482 U.S. 78, 89 (1987))); Tanner, 433 F. Supp. 2d at 124 (“Moreover,

the defendant has authority to, at any time, ‘direct the transfer of a prisoner from one penal or




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correctional facility to another,’ and courts give deference to prison officials’ exercise of this

authority. The court is mindful that the defendant is entitled to deference when it acts within its

prison management authority.” (quoting 18 U.S.C. § 3621(b), and then citing Women Prisoners

of the D.C. Dep’t. of Corr. v. District of Columbia, 93 F.3d 910, 931–32 (D.C. Cir. 1996))). In

fact, prisoners have no right to be housed at a particular institution. Tanner, 433 F. Supp. 2d at

122 (citing Meachum v. Fano, 427 U.S. 215, 224 (1976)).

       The deference given to prisoner transfer decisions by prison officials leads the Court to

conclude that Pinson is not likely to succeed on the merits. Additionally, Pinson has not made a

clear showing that a transfer would cause her irreparable harm. See Power Mobility Coal. v.

Leavitt, 404 F. Supp. 2d 190, 204 (D.D.C. 2005) (“Proving ‘irreparable’ injury is a considerable

burden, requiring proof that the movant’s injury is ‘certain, great and actual—not theoretical—

and imminent, creating a clear and present need for extraordinary equitable relief to prevent

harm.’” (citations omitted)). The Court denies Pinson’s request for a preliminary injunction

against the BOP initiating her transfer to another facility.

       Thus, because she has not pointed to an irreparable harm that would result from failing to

grant the injunctions requested and because she is not likely to succeed on the merits, Pinson’s

motion for preliminary injunctive relief is denied.

                                       V.      CONCLUSION

       For the foregoing reasons, Plaintiff’s motion for preliminary injunction (ECF No. 84) is

DENIED. An order consistent with this Memorandum Opinion is separately and

contemporaneously issued.


DATED: September 17, 2020                                                RUDOLPH CONTRERAS
                                                                         United States District Judge




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